     Case 2:13-cr-06070-SAB     ECF No. 107       filed 07/31/24   PageID.353        Page 1 of
                                              2
                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON




1                                                                       Jul 31, 2024
                                                                           SEAN F. MCAVOY, CLERK
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3
4                        UNITED STATES DISTRICT COURT
5                       EASTERN DISTRICT OF WASHINGTON
6
     UNITED STATES OF AMERICA,                       No. 2:13-CR-06070-SAB-1
7
8                       Plaintiff,                   ORDER FOLLOWING INITIAL
                                                     APPEARANCE ON SUPERVISED
9                        v.                          RELEASE VIOLATION PETITION
10
     KENNETH RICHARD ROWELL,
11
12                      Defendant.
13
           On July 23, 2024, the Court held a hearing for Defendant KENNETH
14
     RICHARD ROWELL’s initial appearance based on a petition for action, post-
15
16   conviction, filed July 22, 2024, ECF No. 106, alleging Violation Nos. 9-12.

17   Defendant was previously advised on Violation Nos. 1-8. Defendant appeared in
18   custody represented by Assistant Federal Defender Juliana Van Wingerden.
19   Assistant U.S. Attorney Brandon Pang represented the United States. U.S.
20   Probation Officer Kyle Mowatt was also present.
21         Defendant consented to the proceedings being conducted by video with the
22   Court presiding in Sacramento, California, Defendant and his counsel appearing in
23   Yakima, and the Government appearing in Yakima.
24         Defendant was advised of and acknowledged his rights. The Court entered a
25   denial of the violations pending on the petition on behalf of Defendant. The Court
26   confirmed the continued appointment of the Federal Defenders who were
27   previously appointed to represent the Defendant.
28



     ORDER - 1
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1          The Court previously addressed the issue of detention and no party sought to

2    revisit the issue of detention. The previously entered Order of Detention, ECF
3    No. 98, will remain in full force and effect.
4          Accordingly, IT IS ORDERED:
5          1.     The Court finds PROBABLE CAUSE to hold Defendant to respond
6    to the violations set forth in the petition, ECF No. 106.
7          2.     Defendant is remanded to the custody of the U.S. Marshal pending
8    further hearings or until further order of the Court and shall be afforded reasonable
9    opportunity for private consultation with counsel.
10         3.     A supervised release revocation hearing remains set before Chief
11   Judge Bastian, in Yakima, Washington immediately following this hearing on July
12
     23, 2024, at 9:30 a.m.
13
           IT IS SO ORDERED.
14
           DATED July 31, 2024.
15
16
                                  _____________________________________
17                                          JAMES A. GOEKE
18                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
